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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        PAUL SOMERS,
                                   7                                                         Case No. 14-cv-05180-EMC (KAW)
                                                        Plaintiff,
                                   8
                                                 v.                                          ORDER REGARDING DEFENDANTS'
                                   9                                                         DISCOVERY LETTER
                                        DIGITAL REALTY TRUST INC, et al.,
                                  10                                                         Re: Dkt. No. 158
                                                        Defendants.
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Northern District of California
 United States District Court




                                  13           On November 18, 2016, Defendants Digital Realty Trust and Ellen Jacobs filed a

                                  14   discovery letter, seeking documents in preparation for Plaintiff Paul Somers's deposition. (Dkt.

                                  15   No. 158.) Although Defendants provided Plaintiff with the discovery letter on November 11,

                                  16   2016, Plaintiff did not provide his position on the letter. (Id. at 1-2.)

                                  17           As an initial matter, the Court observes that Plaintiff's deposition is scheduled for Tuesday,

                                  18   November 22, 2016, yet Defendants did not file their letter until Friday, November 18, 2016, after

                                  19   the Court had already closed. The documents in dispute were apparently sought in October 2015,

                                  20   and several requests were previously resolved by the Court in its July 8, 2016 order. (See Dkt.

                                  21   Nos. 110 at 1, 158 Exh. A.) Moreover, to the extent Defendants assert that these documents are

                                  22   needed for Plaintiff's deposition, Plaintiff's deposition has been re-scheduled several times already.

                                  23   (See Dkt. No. 132 (ordering Plaintiff's deposition to take place on September 26, 2016); Dkt. No.

                                  24   138 (order rescheduling Plaintiff's deposition to take place on October 26, 2016); Dkt. No. 149

                                  25   (order rescheduling Plaintiff's deposition to take place on November 22, 2016). Thus, Defendants

                                  26   were or should have been aware of the need for these documents long before November 11, 2016,

                                  27   when Defendants apparently first provided Plaintiff with the proposed discovery letter. As a

                                  28   result, Defendants did not bring this dispute to the Court's attention until less than two business
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                                   1   days before Plaintiff's deposition is to take place, despite seeking an order "sufficiently in advance

                                   2   of [Plaintiff's] November 22, 2016 deposition so that the material produced is usable at the

                                   3   deposition . . . ." (Dkt. No. 158 at 3.) Defendants offer no justification for this undue delay, and

                                   4   such behavior is unacceptable and will not be tolerated in the future.

                                   5           That said, the Court has reviewed Defendant's discovery letter, and hereby orders the

                                   6   following:

                                   7           With respect to1 "Requests for Production, Set One, Request No. 8" (documents reflecting

                                   8   Plaintiff's mitigation efforts) and "Requests for Production, Set One, Request No. 7" (documents

                                   9   reflecting Plaintiff's claim for damages), the Court previously ordered Plaintiff to provide his

                                  10   responses within 14 days of the Court's July 8, 2016 order. (Dkt. No. 110 at 1.) The Court

                                  11   ORDERS Plaintiff to produce these documents before or at his November 22, 2016 deposition. If

                                  12   Plaintiff fails to produce these documents, he will face sanctions. See Fed. R. Civ. P. 37(b)(2).
Northern District of California
 United States District Court




                                  13           With respect to "Requests for Production, Set Three, Request No. 6" (passports used by

                                  14   Plaintiff in 2014), the Court finds that Plaintiff's passport is relevant to his allegations that

                                  15   Defendant Digital Realty's actions resulted in Plaintiff being stranded in Singapore for 90 days.

                                  16   (First Amended Compl. ¶¶ 62(ix)(b), (e), (f), Dkt. No. 51.) Plaintiff has provided no legal

                                  17   justification for why he should not have to produce his passport, and has waived any such

                                  18   objections by failing to timely respond to Defendants' Request for Production, Set Three. (Dkt.

                                  19   No. 158 at 2, Exh. B at 3; see also Monrad v. Krueger, Case No. 14-cv-2529-KAW, 2015 U.S.

                                  20   Dist. LEXIS 18305, at *4 (N.D. Cal. Feb. 13, 2015) (finding that failure to timely respond to

                                  21   requests for production of documents constitutes a waiver of all objections).) Thus, the Court

                                  22   ORDERS Plaintiff to either produce his passport at his November 22, 2016 deposition so that

                                  23   Defendants may copy it, or to provide Defendants with a copy of his passport at his deposition.

                                  24           With respect to "Requests for Production, Set Three, Request No. 13" (any materials

                                  25   containing Digital's proprietary information), Plaintiff again provides no legal justification for why

                                  26   he should not be required to produce these documents, and his failure to furnish timely written

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                                  28    To avoid confusion, the Court will refer to the propounded discovery using the designations
                                       Defendants used in their letter.
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                                   1   responses constitutes a waiver of objections. See Monrad, 2015 U.S. Dist. LEXIS 18305, at *4.

                                   2   Thus, the Court ORDERS Plaintiff to produce these documents before or at his November 22,

                                   3   2016 deposition. Failure to produce the documents may result in the imposition of sanctions.

                                   4          IT IS SO ORDERED.

                                   5   Dated: November 21, 2016
                                                                                           __________________________________
                                   6                                                       KANDIS A. WESTMORE
                                   7                                                       United States Magistrate Judge

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Northern District of California
 United States District Court




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